United States District Court
Northern District of California

10

11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Case 4:16-cv-03396-YGR Document 347 Filed 05/13/19 FILED

MAY 13 2019

SUSAN Y, SOONG
nose SREP ee
OAKLAND ORNA

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

IGNACIO PEREZ, ET AL., -CASE No. 16-cv-03396-YGR
Plaintiffs, CLASS ACTION
vs VERDICT FORM

RASH CURTIS & ASSOCIATES,

 

Defendant.

 

 

 

 

VERDICT FORM No. 4:16-CV-03396-YGR

 
United States District Court
Northern District of California

Oo Oo sO N

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Case 4:16-cv-03396-YGR Document 347 Filed 05/13/19 Page 2 of 4

WE, THE JURY IN THE ABOVE-ENTITLED CASE, unanimously render the following
verdicts in accordance with the instructions provided by the Court:

A. On Plaintiff Perez’s individual claims under the Telephone Consumer Protection

Act:

1. Did Rash Curtis call Plaintiff Ignacio Perez on his cellular telephone during the class
period with the Global Connect dialer?
Yes No

If you answered “no” to Question No. 1, skip Question Nos. 2 and 3 and proceed
to Question No. 4. If you answered “yes” to Question No. 1, answer Question

Nos. 2 and 3.

2. How many times did Rash Curtis call Plaintiff Ignacio Perez on his cellular telephone

during the class period with the Global Connect dialer?

7

3, How many of the calls in your answer to Question No. 2 were made using an artificial

or prerecorded voice?

/4

 

B. On Class Members’ claims under the Telephone Consumer Protection Act, with
respect to defendant’s use of the Global Connect Dialer:

4, Did Rash Curtis make calls with its Global Connect dialer to Class Members’ cellular
telephone numbers obtained through skip-tracing during the class period without their

prior express consent?

x

Yes No

 

 

 

VERDICT FORM No. 4:16-CV-03396-YGR

 
United States District Court
Northern District of California

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

27

28

Case 4:16-cv-03396-YGR Document 347 Filed 05/13/19 Page 3 of 4

If you answered “no” to Question No. 4, skip Question Nos. 5 and 6 and proceed
to Question No. 7. If you answered “yes” to Question No. 4, answer Question Nos.

5 and 6.

_ 5, State the number of calls Rash Curtis made with its Global Connect dialer to Class
Members’ cellular telephone numbers during the class period without their prior

express consent:

Sol, 043

 

6. How many of the calls in your answer to Question No. 5 were made using an artificial

or prerecorded voice?

$01,043

 

C. On Class Members’ claims under the Telephone Consumer Protection Act, with
respect to defendant’s use of the VIC Dialer:

7, Did Rash Curtis make calls with its VIC dialer to. Class Members’ cellular telephone
numbers obtained through skip-tracing during the class period without their prior

express consent?

_X

Yes No

If you answered “no” to Question No. 7, skip Question Nos. 8 and 9 and proceed
to Question No. 10. If you answered “yes” to Question No. 4, answer Question

Nos. 8 and 9.

8. State the number of calls Rash Curtis made with its VIC dialer to Class Members’

cellular telephone numbers during the class period without their prior express consent:

2,94)

 

 

 

VERDICT FORM No. 4:16-CV-03396-YGR

 
United States District Court
Northern District of California

a

Oo Oo NN HD WN

10
ll
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Case 4:16-cv-03396-YGR Document 347 Filed 05/13/19 Page 4 of 4

9.

10.

11.

How many of the calls in your answer to Question No. 8 were made using an artificial

or prerecorded voice?

ADT

 

On Class Members’ claims under the Telephone Consumer Protection Act, with
respect to defendant’s use of the TCN Dialer: |

Did Rash Curtis make calls with its TCN dialer to Class Members’ cellular telephone
numbers obtained through skip-tracing during the class period without their prior

express consent?
Yes No

If you answered “no” to Question No. 10, you are finished. If you answered “yes”

to Question No. 10, answer Question No. 11.

State the number of calls Rash Curtis made with its TCN dialer to Class Members’

cellular telephone numbers during the class period without their prior express consent:

31, O’F

 

Please sign and date this verdict form, then return to the Court.

Dated:

5/13/19 2

 

FOREPERSON NUMBER.

<a? Zt
E

a SON SIGNATURE

 

 

 

VERDICT FORM No. 4:16-CV-03396-YGR

 
